       2:17-cr-20037-JES-JEH # 276         Page 1 of 19                                      E-FILED
                                                                  Monday, 18 March, 2019 12:08:46 PM
                                                                        Clerk, U.S. District Court, ILCD

                           UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF ILLINOIS
                                 URBANA DIVISION

UNITED STATES OF AMERICA,                  )
                                           )
       Plaintiff,                          )
                                           )
vs.                                        )       Crim. No. 17-20037
                                           )
BRENDT A. CHRISTENSEN,                     )
                                           )
       Defendant.                          )

                    RESPONSE TO GOVERNMENT’S MOTION IN LIMINE
                        TO PRECLUDE A “MERCY” INSTRUCTION

       Now comes the Defendant, BRENDT A. CHRISTENSEN, by his attorneys, and

for his response to the Government’s Motion in Limine to Preclude a “Mercy”

Instruction, (R. #249), filed February 15, 2019, states as follows:

I.     Introduction

       Relying entirely upon the Fourth Circuit’s ruling in United States v. Caro, 483

F.Supp.2d 513, 518 (W.D.Va. 2007), aff’d, 597 F.3d 608 (4th Cir. 2010), the government

contends that the “FDPA provides no mechanism for jurors to substitute mercy for their

aggravating and mitigating analysis and impose a sentence less than that which is

justified by their own deliberations.” (R.#249, p. 3).

       The government’s motion, however, erroneously conflates two distinct concepts

in federal capital jury instructions: first, that the FDPA, by its terms, never requires a

jury to impose a death sentence prior to a discretionary finding that any aggravating


                                               1
       2:17-cr-20037-JES-JEH # 276          Page 2 of 19



factors sufficiently outweigh the mitigating factors; and second, the separate argument

that, following the weighing process and a finding that the death penalty is justified,

jurors should be permitted to exercise mercy and impose a sentence of life without the

possibility of release. The first instruction – that death is never required – is specifically

authorized by almost every court that has ever considered the question; and the second

instruction – that a jury may exercise mercy even after finding that aggravating factors

sufficiently outweigh mitigating factors so as to justify the death penalty – is what is

specifically foreclosed by Fourth Circuit precedent, but, as argued below, is contrary to

Supreme Court and other appellate precedent.

       Therefore, Mr. Christensen requests that the Court give the first “death is never

required” instruction, and reserve ruling on the second “mercy” instruction until such

time as the parties are directed by the Court to submit their proposed penalty phase

instructions with supporting memoranda.

II.    Argument

       A. The instruction that “death is never required” is an appropriate and legally
          correct instruction which should be given to the jury in this case.

       The government acknowledges in its pleading that, under the FDPA, death is

never required: “The statutory scheme of the FDPA itself provides that the jury

exercises complete discretion in determining whether aggravating factors (if found)

sufficiently outweigh any mitigating factors to justify a sentence of death.” (R.#249, p.




                                               2
        2:17-cr-20037-JES-JEH # 276               Page 3 of 19



3). See 18 U.S.C. § 3593(e) (providing fact finder full authority to determine whether

aggravating factors sufficiently outweigh mitigating factors to justify a death sentence).1

        Further, the government cites to United States v. Caro, 483 F.Supp.2d 513, 518

(W.D.Va. 2007), aff’d, 597 F.3d 608 (4th Cir. 2010) for the proposition that “the FDPA

does not preclude the jury from considering mercy when weighing the aggravating and

mitigating factors. The FDPA merely precludes the jurors from arbitrarily disregarding

its unanimous determination that a sentence of death justified.” (Id.).

        Indeed, the “death is never required” instruction is a common feature of federal

capital cases. See Modern Fed. Jury Instr. 9A.02, 9A-19 (Lexis 2011); United States v. Jones,

527 U.S. 373, 384 (1999) (jury instructed that “regardless of your findings with

respect to aggravating and mitigating factors, you are never required to recommend a

death sentence”); United States v. Sampson, 335 F. Supp. 2d 166, 239-240 (D. Mass. 2004)

(approving instruction); United States v. Haynes, 265 F. Supp. 2d 914, 921-922 (W.D.

Tenn. 2003) (same); United States v. Hammer, 25 F. Supp. 2d 518, 521 (M.D. Pa. 1998)

(verdict form required jurors to certify that “[w]e . . . understand that a jury is never




1
 In addition to its plain language, the FDPA’s legislative history supports that the statute never requires
the jury to impose the death penalty. As explained in detail in United States v. Haynes, 265 F. Supp. 2d
914, 917-20 ((W.D. Tenn. 2003), Congress actually considered and rejected a House-passed amendment
to the FDPA that would have required the jury to impose a death sentence whenever it “unanimously
finds at least one aggravating factor and no mitigating factor or if it finds one or more aggravating factors
which outweigh any mitigating factors.” See 140 Cong. Rec. H2333 (daily ed.) (April 14, 1994); 140
Cong. Rec. H7940 (daily ed.) (August 11, 1994).

                                                      3
        2:17-cr-20037-JES-JEH # 276              Page 4 of 19



required to impose a death sentence . . .”); United States v. Battle, 979 F.Supp.1442, 1482

(N.D. Ga. 1998) (same).2

        In Caro, cited by the government for the proposition that the Fourth Circuit does

not approve “mercy” instructions, the district court gave a “death is not required”

instruction, which the Circuit quoted in its opinion:

        Whatever findings you make with respect to aggravating and mitigating
        factors, the result of the weighing process is never decided in advance. For
        that reason, a jury is never required to impose a sentence of death. At
        this last stage of your deliberation ... it is up to you to decide whether,
        for any proper reason established by the evidence, you choose not to
        impose such a sentence on the defendant.

        What constitutes sufficient justification for [a] sentence of death in this
        case is exclusively left to you. Your role is to be the conscience of the
        community in making a moral judgment about the worth of an individual
        life balanced against the societal value of what the Government contends
        is deserved punishment for the defendant's offense. Whatever
        aggravating and mitigating factors are found, a jury is never required to
        conclude the weighing process in favor of a sentence of death, but your
        decision must be a reasoned one, free from the influence of passion,
        prejudice, or arbitrary consideration.

597 F.3d at 692. (emphasis added). Caro approvingly distinguished this instruction from

a “mercy” instruction, id. (noting that the district court gave the “death is never

required” instruction instead of the requested “mercy” instruction), and rejected only

the “mercy” instruction. Id. at 632-33.




2
  See also Decl. of Kevin McNally (September 16, 2016), attached at Exhibit 1 (collecting data on federal
trials in which the “death is not required” instruction was given).

                                                    4
          2:17-cr-20037-JES-JEH # 276        Page 5 of 19



          The federal courts’ general practice of providing clear instructions on the

discretionary nature of jury sentencing in capital cases has been validated by a large

body of social science evidence showing that many actual jurors erroneously believe

that death is mandatory once an aggravating factor has been found. See, e.g., U. Bentele

and W.J. Bowers, “How Jurors Decide on Death: Guilt is Overwhelming; Aggravation

Requires Death; and Mitigation is No Excuse,” 66 BROOKLYN L.REV. 1011, 1031-41

(2001); W.S. Geimer & J. Amsterdam, “Why Jurors Vote Life or Death: Operative Factors

in Ten Florida Death Penalty Trials,” 15 AM. J. CRIM. L. 1, 41 (1989) (“In the cases in

which the jury recommended death, over half of the jurors believed that death was to be

the punishment for first degree murder, or at least that death was to be presumed

appropriate unless defendant could persuade the jury otherwise”); W. S. Bowers, “The

Capital Jury Project: Rationale, Design and Preview of Early Findings,” 70 IND. L .J.

1043, 1091 n.32 (1995) (“Many jurors believe that the death penalty is mandatory if the

crime is heinous or vicious”); W. J. Bowers, M. Sandys & B. Steiner, “Foreclosing

Impartiality in Capital Sentencing: Jurors’ Predispositions, Attitudes and Premature

Decision-Making,” 83 CORNELL L. REV. 1476 (1998) (“There appears to be a

presumption that clear unequivocal proof of guilt justifies the death penalty); T.

Eisenberg and M. T. Wells, “Deadly Confusion: Juror Instructions in Capital Cases,” 79

CORNELL L. REV. 1, 12; 38, n. 12 (1992) (“There is a ‘presumption of death’” creating a

risk “that a defendant with a confused jury may receive the death sentence by default . .

. . “).

                                               5
       2:17-cr-20037-JES-JEH # 276           Page 6 of 19



       This persistent and widespread confusion should not come as a complete

surprise. Few jurors – or judges, for that matter –will be glad to learn that the life of a

fellow human being has been consigned to their discretionary moral judgment. Faced

with this prospect, it is simpler to believe – even if it is not true – that the law itself

provides the answer to the momentous question of life and death. It will seem plausible

to many jurors that on so grave a question, the law will have determined in advance

what crimes and offenders are to be punished by death. And so many jurors will

assume there is a legally-prescribed answer – a mandatory or at least presumed

sentence – that the law does not actually provide.

       There is substantial reason to believe that this failure to grasp the full extent of

each juror’s life-and-death power may persist even in the face of clear instructions. But

unless such instructions are given – clearly and repeatedly – the risk of juror confusion

on this critical point becomes a virtual certainty. For this additional reason, the Court

should follow the overwhelming practice of the federal courts throughout the nation in

instructing the jury that neither the law itself nor any particular quantum of evidence

ever requires that the death penalty be imposed.

       The defense expects to submit a “death is not required” instruction in its

proposed penalty phase instructions, consistent with § 3593(e), controlling case

precedent, and national practice. Given the government’s position, as expressed in its

motion in limine (R., 249), there should be no serious dispute over whether the Court

should give it.

                                                6
        2:17-cr-20037-JES-JEH # 276               Page 7 of 19



        B. This Court should give an instruction to the jury that “mercy” is an
           appropriate and legally sufficient reason for any juror not to vote for the
           death penalty.

        As discussed, in Caro, the Fourth Circuit held that the FDPA does not authorize a

“mercy” instruction that would advise the jury that it may decline to impose the death

penalty even after the jurors unanimously decide that any aggravating factors

sufficiently outweigh the mitigating factors to justify a death sentence.3

        However, the Eighth Circuit, in United States v. Allen 247 F.3d 741, 781-782 (8th

2001), which was cited with approval by the Fourth Circuit in Caro, stated as follows

with respect to mercy in capital jury deliberations:

        Under the FDPA, the jury exercises complete discretion in its
        determination of whether the aggravating factors outweigh the mitigating
        factors. The jury was informed that whether or not the circumstances
        justify a sentence of death was a decision left entirely to them. Mercy is
        not precluded from entering into the balance of whether the aggravating
        circumstances outweigh the mitigating circumstances. The FDPA merely
        precludes the jurors from arbitrarily disregarding its unanimous
        determination that a sentence of death is justified. See Johnson v. Texas, 509
        U.S. 350, 371-72, 113 S.Ct. 2658, 125 L.Ed.2d 290 (1993) (explaining that “ ‘it
        would be very difficult to reconcile a rule allowing the fate of a defendant
        to turn on the vagaries of particular jurors' emotional sensitivities with our
        longstanding recognition that, above all, capital sentencing must be
        reliable, accurate, and nonarbitrary” ’) (quoting Saffle v. Parks, 494 U.S. 484,

3
 The defendant’s proposed “mercy” instruction in Caro, that was refused by the district court, was as
follows: “[W]hatever findings you make with respect to the aggravating and mitigating factors, you are
never required to impose a sentence of death. For example, there may be something about this case or
about Carlos David Caro that one or more of you are not able to identify as a special mitigating factor, but
that nevertheless creates a reasonable doubt about the need for Carlos David Caro's death. In such a case,
the jury should render a decision against a death sentence. Moreover, even when a sentence of death is
fully supported by the evidence, Congress has nevertheless given each of you the discretion to temper
justice with mercy. Any one of you is free to decide that a death sentence should not be imposed in this
case for any reason that you see fit. You will not have to explain the reason. Indeed, I am specifically
required by law to advise you that you have this broad discretion.” 597 F.3d at 631.


                                                     7
       2:17-cr-20037-JES-JEH # 276         Page 8 of 19



       493, 110 S.Ct. 1257, 108 L.Ed.2d 415 (1990)); Saffle, 494 U.S. at 493, 110 S.Ct.
       1257 (stating that the government “must not cut off full and fair
       consideration of mitigating evidence; but it need not grant the jury the
       choice to make the sentencing decision according to its own whims or
       caprice”). Congress is free to pass a statute which confines arguments of
       mercy to the jury's consideration of mitigating circumstances and in its
       final determination of whether the aggravating factors “sufficiently
       outweigh” the mitigating factors. We also note that Allen was not
       prohibited from urging the jury to be merciful in its deliberations and
       in its consideration of asserted mitigating factors. The district court
       stated as follows:

       There will be no ruling by the Court that mercy is a factor that cannot be
       considered. Certainly jury nullification cannot be argued nor any
       argument permitted beyond a statutory scheme. So there's no doubt
       about it, the defense will not be precluded from arguing that the jury
       may be merciful in its deliberations. (Trial Tr., Vol. XIX at 22-23.)

       For these reasons, we conclude that the instructions given in this case
       adequately state the law and that the district court did not abuse its
       discretion by rejecting Allen's proposed mercy instruction.

247 F.3d at 781-782.

       Therefore, contrary to the government’s assertions in its motion to preclude a

“mercy” instruction, there is a substantial body of death penalty law holding that

"mercy" is a relevant and, indeed, a crucial consideration for a capital jury, and that

prosecutorial argument or instructions that eliminate this factor from the jury's

sentencing determination constitutes reversible error.

       Indeed, federal law clearly holds that the Constitution prohibits imposition of

the death penalty without adequate consideration of factors which might evoke mercy.

California v. Brown, 479 U.S. 538, 554, 107 S.Ct. 837, 846, 93 L.Ed.2d 934 (1987).

“Consideration of such evidence is a ‘constitutionally indispensable part of the process

                                              8
       2:17-cr-20037-JES-JEH # 276          Page 9 of 19



of inflicting the penalty of death.” (quoting Woodson v. North Carolina, 428 U.S. 280, 304

(1976). The Supreme Court has consistently held that “the sentencer may not refuse to

consider or be precluded from considering ‘any relevant mitigating evidence.’ ” Skipper

v. South Carolina, 476 U.S. 1, 106 S.Ct. 1669, 90 L.Ed.2d 1 (1986); Hitchcock v. Dugger, 481

U.S. 393, 398-99, 107 S.Ct. 1821, 1824-25, 95 L.Ed.2d 347 (1987).

       In Morgan v. Illinois, 504 U.S. 719 (1992), even the late Justice Scalia

acknowledged that the Supreme Court’s jurisprudence required mercy as a necessary

consideration for a capital jury. There, Justice Scalia, writing in dissent, and lamenting

the state of the law, nonetheless acknowledged: “Sixteen years ago, this Court decreed -

- by a sheer act of will, with no pretense of foundation in constitutional text or

American tradition -- that the People (as in We, the People) cannot decree the death

penalty, absolutely and categorically, for any criminal act, even (presumably) genocide;

the jury must always be given the option of extending mercy.” (citing Woodson, 428 U.S.

at 303-305).

       Other cases have also recognized the importance of mercy in a capital case. See

Nelson v. Nagle, 995 F.2d 1549 (11th Cir. 1993) (granting relief because prosecution’s

reading during closing sentencing argument of portion of a state case discouraging

mercy rendered penalty phase of trial fundamentally unfair); Wilson v. Kemp, 777 F.2d

621, 624 (11th Cir. 1985) (prosecutor's suggestion "that a sense of mercy should not

dissuade one from punishing criminals to the maximum extent possible ... is

fundamentally opposed to current death penalty jurisprudence"); Drake v. Kemp, 762

                                              9
      2:17-cr-20037-JES-JEH # 276          Page 10 of 19



F.2d 1449, 1460 (11th Cir. 1985) ("the suggestion that mercy is inappropriate was not

only a misrepresentation of the law, but it withdrew from the jury one of the most

central sentencing considerations, the one most likely to tilt the decision in favor of

life"); Buttrum v. Black, 721 F. Supp. 1268, 1318 (N.D. Ga. 1989), aff'd, 908 F.2d 695 (11th

Cir. 1990) (reversible error where jury led to believe "that the concept of mercy--the

most significant factor which might point toward a choice of life imprisonment--is

illegitimate"); United States v. Thomas Steven Carter, No. 10-CR-351 (W.D.La.)(special

verdict form given in FDPA case which listed, as one of 106 mitigating factors, “Thomas

Steven Sanders is deserving of mercy.” (R.330, p. 16).

       And finally, in United States v. Duong, 01-CR-20154 (N.D.Cal.), District Judge

Jeremy Fogle gave the following instruction to the jury in a FDPA case that is consistent

with controlling precedent discussed above:

       Even if you have unanimously found that the Aggravating Factors
       sufficiently outweigh the Mitigating Factors that a death sentence is
       justified in one or more of the murders, each of you must still determine
       whether to in fact impose that sentence. No juror is ever required by the
       law to impose a death sentence. The decision is yours as individuals to
       make. Any one of you may decline to impose a death sentence, even
       where your findings make imposition of the death penalty possible. You
       do not have to give a reason for your decision. You may decline to
       impose a death sentence because of mercy or for any reason you deem to
       be relevant. It is an individual and personal decision that is each juror’s
       alone. The law has given each of you the discretion to temper justice with
       mercy.

       A death sentence shall be imposed only if it is the unanimous decision of
       the jury. That is, only if all the jurors make the individual decision that
       death is in fact the appropriate sentence.


                                             10
      2:17-cr-20037-JES-JEH # 276        Page 11 of 19



(R., #1488, p. 15)(emphasis added).

      In conclusion, the defense intends to submit a proposed “mercy” instruction with

supporting memoranda when directed by the Court to submit all of its penalty phase

instructions. Until then, this Court should deny the government’s motion to preclude a

“mercy” instruction to the jury as being contrary to controlling legal precedent

discussed herein.

                           Respectfully submitted,

                           BRENDT A. CHRISTENSEN, Defendant

By:   /s/Elisabeth R. Pollock                   /s/ George Taseff
      Assistant Federal Public Defender         Assistant Federal Public Defender
      300 West Main Street                      401 Main Street, Suite 1500
      Urbana, IL 61801                          Peoria, IL 61602
      Phone: 217-373-0666                       Phone: 309-671-7891
      FAX: 217-373-0667                         Fax: 309-671-7898
      Email: Elisabeth_Pollock@fd.org           Email: George_Taseff@fd.org


      /s/ Robert Tucker                         /s/ Julie Brain
      Robert L. Tucker, Esq.                    Julie Brain, Esq.
      7114 Washington Ave                       916 South 2nd Street
      St. Louis, MO 63130                       Philadelphia, PA 19147
      Phone: 703-527-1622                       Phone: 267-639-0417
      Email: roberttuckerlaw@gmail.com          Email: juliebrain1@yahoo.com




                                           11
      2:17-cr-20037-JES-JEH # 276        Page 12 of 19



                              CERTIFICATE OF SERVICE

      I hereby certify that on March 18, 2019, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system which will send notification of such

filing to Assistant United States Attorneys Bryan D. Freres and Eugene L. Miller and

Trial Attorney James B. Nelson. A copy was also mailed to the defendant.

                                         /s/Elisabeth R. Pollock
                                         Assistant Federal Public Defender
                                         300 West Main Street
                                         Urbana, IL 61801
                                         Phone: 217-373-0666
                                         FAX: 217-373-0667
                                         Email: Elisabeth_Pollock@fd.org




                                            7
2:17-cr-20037-JES-JEH # 276   Page 13 of 19




                      EXHIBIT 1
2:17-cr-20037-JES-JEH # 276   Page 14 of 19
2:17-cr-20037-JES-JEH # 276   Page 15 of 19
2:17-cr-20037-JES-JEH # 276   Page 16 of 19
2:17-cr-20037-JES-JEH # 276   Page 17 of 19
2:17-cr-20037-JES-JEH # 276   Page 18 of 19
2:17-cr-20037-JES-JEH # 276   Page 19 of 19
